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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  2U, INC., and GET EDUCATED
  INTERNATIONAL PROPRIETARY LTD.,

                  Plaintiffs,

        v.                                         Case No. 1:23-cv-00925-TNM
                                                   REDACTED
  MIGUEL CARDONA, Secretary of
  Education, and U.S. DEPARTMENT OF
  EDUCATION,

                  Defendants.

    DECLARATION OF BRADFORD R. ADAMS IN SUPPORT OF PLAINTIFFS’
    MOTION FOR STAY PENDING REVIEW AND PRELIMINARY INJUNCTION

       I, Bradford R. Adams, declare as follows:

       1.      I am Chief University Operations Officer at 2U, Inc. (“2U”). I have worked at 2U

since 2009.

       2.      As Chief University Operations Officer, I am responsible for overseeing 2U’s

service delivery to its university partners, and I manage a broad array of university operations

functions, including admissions, student support, faculty support, tech support, placement, and

career and workforce functions.

       3.      I have personal knowledge of the matters in this declaration and would testify

truthfully to them if called upon to do so.

                                              Background

       4.      2U was founded on the belief that expanding access to the world’s great non-profit

universities through online education can change lives and meet the critical needs of our society.

Today, in the face of an acute shortage of skilled labor in America, organizations like 2U play a

vital role in helping non-profit universities meet the growing need for career-relevant education at


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scale. For more than 15 years, 2U has partnered with nonprofit colleges and universities to build,

deliver, and support thousands of high-quality online programs, giving millions of people access

to high-quality higher education without having to quit their jobs or uproot their lives. In all, tens

of millions of learners have registered with 2U to access these programs, ranging from free courses

to full degrees, offered in partnership with hundreds of public and non-profit colleges and

universities, including 22 of the top 25 universities ranked as “Best Global Universities” by U.S.

News & World Report.

       5.      Universities partner with 2U because of its dedicated focus on quality and student

outcomes. From large public institutions to small private universities, hundreds of institutions rely

on 2U’s unique bundle of technology, data, support services, investment capital, and people to

help develop, deliver, and support online education programs that meet the same high standards as

their on-campus programs. The development of high-quality online courses is capital-intensive

and time-intensive, and requires special technological and online curriculum-development

expertise that many institutions (particularly smaller institutions) lack. 2U is able to deploy its

capital and technological expertise to more efficiently build, deliver, and support digital education

at scale. By partnering with 2U, universities can provide their own high-quality instruction to a

broader set of students without taking on the cost and risk of developing the infrastructure for an

online program from scratch.

       6.      More than half of the degree programs 2U supports are in disciplines that require

state occupational licensure, such as public health, healthcare, and education. Frequently, state

licensing authorities require students to spend a certain amount of time in practical “field

placements” as part of their degree curriculum before ultimately qualifying for a license to practice

their occupation. 2U plays a pivotal role in ensuring that students who are studying in its partners’



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online programs to become nurses, midwives, social workers, teachers, physician assistants, and

speech pathologists find placement sites to complete their clinical requirements in their local

communities. For students from rural areas, finding a placement site can sometimes be particularly

challenging. 2U is able to leverage its nationwide network of clinics, hospitals, schools, and other

sites to secure local placements for these students, an effort that would be difficult for universities

to replicate independently. To date, 2U has matched students with over 26.5 million hours of

virtual and in-person field placements in all 50 states and the District of Columbia.

        7.      To date, 2U has supported institutions in the development of 180 state-of-the-art

online degree programs that span 29 career-relevant fields like nursing, education, social work,

artificial intelligence, business, and data science.

        8.      Students enrolled in 2U’s partner programs frequently outperform their campus-

based counterparts in the areas of retention and graduation rates. According to the 2019 Gallup-

2U Graduate Outcomes Benchmark Report, 92% of surveyed alumni from 2U-powered graduate

degree programs would still pursue an online graduate degree if they had to do it over again. 2U

also publishes a Transparency Report with self-reported data on our partnerships. As described in

the 2021 Transparency Report, 2U degree programs have a 90% retention rate and a 73%

graduation rate. A true and correct copy of the 2019 Gallup-2U Graduate Outcomes Benchmark

Report is attached as Exhibit 1. A true and correct copy of the 2021 Transparency Report is

attached as Exhibit 2.

        9.      2U provides its partner institutions with a variety of services, including learning

technology, learning design, career support, marketing services, student engagement and support,

technology, enrollment application assistance, student recruitment, placement services, and other

support services necessary for the online delivery of university programs. University oversight



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and autonomy are central to each of 2U’s partnerships. Institutions maintain full control over

tuition pricing, accreditation, curriculum, admissions standards and acceptance decisions,

graduation requirements, faculty hiring decisions, student instruction, program size, and financial-

aid decisions and administration. Institutions also approve all marketing assets and collateral.

       10.     In exchange for the bundle of services 2U provides to its university partners for

online programming, 2U receives a share of the tuition revenue received by those institutions for

those programs, consistent with Department of Education regulations and guidance.

       11.     2U’s partnerships with educational institutions with respect to degree programs are

memorialized in long-term (typically greater than ten years) Master Services Agreements, which

establish flexible frameworks for successful, long-term partnerships. These contracts set forth each

party’s rights and responsibilities and the terms and conditions with respect to the educational

program(s) that 2U supports for each institution. For example, the contracts specify: (i) the

services that 2U will provide; (ii) the university’s obligations with respect to the educational

program (e.g., create the program curriculum, determine admissions standards, make admissions

decisions, provide faculty, confer degrees, etc.); (iii) the percentage of tuition revenue that the

university will pay 2U for its services; (iv) the length of the contract term, the parties’ termination

rights, and the effect of termination; and (v) the parties’ intellectual property rights, including

applicable licenses to use the other party’s intellectual property in connection with the educational

program. The contracts also include detailed risk allocation provisions, including indemnification,

limitation on direct damages, and disclaimers of indirect damages.

       12.     With respect to its institutional partners’ degree programs, 2U makes significant

up-front investments in technology development, curriculum development, and marketing services

(oftentimes up to $5 million each), and recoups those investments over time through revenue



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sharing arrangements with partner institutions. As a result, these contracts generally: (i) do not

contain termination-for-convenience provisions; (ii) are terminable for breach only if the breach is

not cured within a significant period of time; and (iii) contain transition provisions detailing how

students are to be taught through the remainder of the program and how the program will be

transitioned in an orderly fashion in the event of the termination or expiration of the contract, with

the intent of ensuring that the student experience is not adversely impacted by the end of the

contractual relationship and that 2U is compensated for all services provided.

       13.     2U’s contracts with its university partners are complex and long-term. Negotiations

are oftentimes protracted (often taking many months, if not years) and involve multiple internal

and external stakeholders for each party (for example, financial representatives, legal

representatives, university operations, university faculty, university leadership, technology

support, and cybersecurity personnel).

       14.     Under the Higher Education Act and the U.S. Department of Education’s

longstanding regulations and regulatory guidance, 2U has never previously been classified as a

third-party servicer. In fact, 2U has deliberately structured its business so as not to act as a third-

party servicer within the meaning of the Higher Education Act. In response to earlier guidance

from the Department in a 2015 Dear Colleague Letter, in which the Department articulated that

“providing financial aid counseling” constituted a third-party servicer activity, 2U expressly

instructed its admissions counselors not to discuss financial-aid options with prospective students

even if asked, and instead simply to refer such prospective students to the university’s financial-

aid webpage if financial-aid questions are raised by a prospective student.

       15.     Indeed, 2U’s existing agreements with its institutional partners are expressly

premised on the view that 2U is not a third-party servicer. For example, 2U’s standard contracts



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contain the following language: “University shall be solely responsible for the administration of

all financial aid programs and will process all requests for aid within ten (10) days for 90% of

Program Applicants,” and “2U shall not be involved in any manner in the award or disbursement

of financial assistance provided pursuant to Title IV of the Higher Education Act of 1965, as

amended. University acknowledges that 2U is not, and shall not be reported by University as, a

“third party servicer” (as defined by federal regulations including 34 C.F.R. §§ 668.2 and 668.25).”

       16.     The statutory and regulatory regime governing third-party servicers imposes

significant costs, obligations, and risks on such entities. Among other things, third-party servicers

are subject to an annual audit requirement, 20 U.S.C. § 1094(c)(1)(C)(i), extensive reporting

obligations, 34 C.F.R. § 668.25(c)(2), joint and several liability with each partner institution for

its violation of Title IV regulations, id. § 668.25(c)(3), and the risk of being barred by the

Department from contracting with all institutions for a five-year period for violations of regulatory

requirements, see id. § 668.25(d)(1). The regulations also impose fiduciary obligations on third-

party servicers, requiring them to fulfill their duties subject to the highest standard of care and

diligence. 34 C.F.R. § 668.82.

                         The Department’s Issuance Of The 2023 DCL

       17.     On February 15, 2023, the Department released updated third-party servicer

guidance in Dear Colleague Letter GEN-23-03 (“2023 DCL”). That guidance revoked all prior

third-party servicer guidance upon which 2U relied in developing its business model and

negotiating its master services agreements with its partner institutions.

       18.     The original version of the 2023 DCL purported to take effect immediately, and

directed every entity newly deemed to be a third-party servicer to come into compliance with the

Department’s third-party-servicer regulatory regime by May 1, 2023. On February 28, 2023, the



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Department postponed the DCL’s effective date—and date for mandatory compliance—to

September 1, 2023.

       19.     The 2023 DCL significantly broadens the definition of a third-party servicer. It

redefines the term “third-party servicer” by applying that label to a variety of new functions, and

contains a catch-all provision which brings in any party who performs “functions or services

necessary to perform any other aspect of the administration of the Title IV programs or comply

with the statutory and regulatory requirements associated with these programs.”

       20.     The 2023 DCL’s broad language sweeps in 2U as a third-party servicer, subjecting

2U to an extensive set of regulatory third-party servicer requirements set forth in the Higher

Education Act itself, the Department’s implementing regulations, and additional guidance

documents. As explained more fully below, complying with the new requirements imposed by the

2023 DCL will be tremendously disruptive to 2U’s business, and will transform the relationships

between 2U, its partner institutions, and the Department. Ultimately, that disruption will harm

students currently enrolled in our partners’ programs and will reduce access to high-quality

education for future students who could benefit from online programs that would advance their

careers. And the 2023 DCL will require 2U to undertake significant alterations to its business well

before September 1, 2023.

                                   Contractual Renegotiations

       21.     As explained below, 2U’s newfound designation as a third-party servicer under the

2023 DCL requires significant revision and renegotiation of each and every one of 2U’s long-term

contracts with its partner institutions for 180 degree-granting programs at colleges and universities

around the country, collectively contributing over $571.6 million in revenue for 2U in 2022.




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        22.     The 2023 DCL expressly requires the inclusion of several new provisions in 2U’s

contracts with its partner institutions. As a third-party servicer, 2U must now agree in its contracts

with partner institutions: (i) to be jointly and severally liable with the institution to the Department

for any violation of Title IV requirements resulting from the functions performed by 2U (even if

2U was not primarily responsible for the Title IV violation); (ii) to comply with all statutory,

regulatory, and other Title IV requirements—including requirements concerning compliance

audits; (iii) to refer any suspicion of fraudulent or criminal conduct to the Department; (iv) to

return all records or unexpended Title IV funds to the institutions if the contract is terminated or if

2U fails to perform any functions prescribed under the contract for any reason; and (v) to comply

with all aspects of the Family Educational Rights and Privacy Act. The 2023 DCL also strongly

encourages institutions to include contractual provisions allowing any third-party servicer contract

to terminate immediately and without penalty if the Department takes certain disciplinary actions

against 2U.

        23.




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       24.




       25.     Beyond these formal legal requirements, 2U will also be forced—as a practical

business necessity—to seek other changes to its existing agreements to reflect the dramatic

expansion of the risks 2U will face in partnering with any particular institution under the 2023

DCL.




                               Marketing and Recruiting Services

       26.     As part of its bundle of services, 2U provides marketing and recruiting services for

its university clients. Recruiting services include (i) corresponding with prospective students who



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have requested to hear more information about a particular program; and (ii) supporting

prospective students through the process of applying to the program(s) in which they are interested.

Marketing services include search engine optimization, paid search, social media marketing and

custom website development and deployment. Marketing services necessarily require 2U to make

statements about the universities and their programs.

       27.     The HEA prohibits a Title IV institution—as well as a person with whom the

eligible institution has an agreement to provide educational programs, marketing, advertising,

recruiting or admissions services—from engaging in a “substantial misrepresentation” regarding:

(i) the nature of the school’s education programs; (ii) the school’s financial charges; or (iii) the

employability of the school’s graduates. See 34 C.F.R. §§ 668.71–74. 2U’s university clients

approve and/or provide the marketing materials that 2U uses to market its clients’ programs and

2U does not knowingly utilize false or misleading marketing materials. However, in some

circumstances, partner institutions may provide 2U with approved marketing materials that the

Department could consider to include substantial misrepresentations under the broad definition

noted above. Under the 2023 DCL, if the Department determines that one of 2U’s institutional

partners has made substantial misrepresentations with respect to a program operated by 2U, the

Department could try to hold 2U jointly and severally liable for the Title IV liabilities related to

such misrepresentations, whether through its “borrower defense to repayment” regulations or

otherwise. 2U could also be exposed to increased risk of action under the federal False Claims

Act related to material misrepresentations. Prior to the 2023 DCL, although 2U was still directly

subject to liability for its own misrepresentations, 2U did not face joint and several liability to the

Department for representations made by its partner institutions that caused harm in connection

with functions performed by 2U.



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       28.     To take one example, 2U was recently sued alongside the University of Southern

California by a putative class of plaintiffs regarding marketing materials that included U.S. News

& World Report rankings that USC allegedly obtained by misrepresenting data about certain

programs. As it relates to 2U, this suit is completely without merit. 2U played no role in USC’s

submission of data to U.S. News & World Report and was not aware that any rankings used in its

materials were false or misleading. And on March 8, 2023, 2U filed a motion to dismiss the

litigation on that and other bases.1 As indicated in 2U’s motion to dismiss, USC’s internal

investigation conducted by independent counsel, Jones Day, assigned full responsibility for this

course of conduct to USC: “The ultimate decision-making authority and responsibility for the

School’s survey submissions rested with the School’s dean, who reviewed and approved the

submissions before they were transmitted to US News.” 2 The Jones Day Report did not mention

2U at all, as this activity had absolutely nothing to do with 2U. However, under the 2023 DCL,

regardless of the outcome of the class action lawsuit, the Department could unilaterally determine

that 2U has participated in substantial misrepresentations by using information provided by USC

to 2U that USC knew or should have known to be false to market USC’s programs, and it could

try to hold 2U jointly and severally liable for the Title IV liabilities related to such alleged

misrepresentations.




1
 See Motion to Dismiss, Favell et al v. University of Southern California et al, No. 2:23-cv-
00846-SPG-MAR, (C.D. Cal. Mar. 8, 2023), ECF 28.
2
 Jones Day, School of Education Rankings Data Reporting Investigation (Apr. 27, 2022)
https://customsitesmedia.usc.edu/wp-content/uploads/sites/545/2022/04/29110617/Rossier-
Rankings-Report-4.27.22.pdf
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                            State Authorization and Licensure Services

       29.     As part of its bundle of services, 2U provides university clients with assistance in

securing program-specific state authorization approvals as may be necessary to operate a particular

program.

       30.     The Department’s regulations mandate that institutions must satisfy applicable

state-law requirements pertaining to the enrollment of students in distance-learning programs in

any state in which the institution is not physically located or in which the institution is otherwise

subject to the state’s jurisdiction, or participate in a state reciprocity agreement that covers the

institution’s activities in that state. Satisfaction of such requirements is a condition of Title IV

eligibility. See 34 C.F.R. § 600.9. And failure to comply may result in the institution being

required to return all Title IV funds received for programs that are not properly authorized. To the

extent that a failure to obtain state authorization was due to the fault of the university, the 2023

DCL saddles 2U with joint and several liability for that failure.

       31.




       32.




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       33.




             Indemnification; Limitation of Liability; Representations and Warranties

       34.




       35.




                                          Termination

       36.     As mentioned above, the 2023 DCL strongly encourages institutions to include

contractual provisions allowing any third-party servicer contract to terminate immediately and

without penalty if the Department takes certain disciplinary actions against 2U.




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       37.     2U’s negotiations with each of its partner institutions are not guaranteed to succeed

and will cause significant disruption to its business. In 2U’s experience, contract renegotiations

can take many months, and require significant internal resources throughout the negotiation

process.




       38.     Furthermore, once 2U renegotiates its contracts, it will be difficult—and perhaps

impossible—to restore the status quo ante if the 2023 DCL is found to be unlawful. At a minimum,

doing so would yet another round of contract renegotiation, at great burden and expense to 2U.

                                  New Compliance Obligations

       39.     In addition, the 2023 DCL will directly subject 2U to other substantial and

burdensome compliance obligations.

       40.     Having been reclassified as a third-party servicer, 2U will be required to undergo

an annual compliance audit of its administration of the functions and services that it performs

under its contracts with eligible Title IV institutions pursuant to 20 U.S.C. § 1094(c)(1)(c)(i) and

34 C.F.R. § 668.23(a)(3).     Department regulations provide that the audit must follow the

procedures contained in an audit guide developed by the Department’s Office of Inspector General



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(“OIG”), 34 C.F.R. § 668.23(a)(3), and be submitted to the Department no later than six months

after the last day of the servicer’s fiscal year. Id. § 668.23(c)(3). The recently released 2023 OIG

Audit Guide, effective for fiscal years beginning on or after January 1, 2023, 3 does not address the

import or consequences of the Department’s new expanded definition of a third-party servicer;

instead, it continues to provide audit procedures only for servicers who assist with the

administration of Title IV funds. Significantly, the 2023 DCL further requires a letter of assurance

from the management of third-party servicers, as part of their compliance audit submission, of

each of the following: (i) that each of their 180 contracts contain the mandatory contractual

requirements, including joint and several liability; (ii) that the servicer has established a system of

internal controls to ensure compliance with applicable laws and regulations; (iii) that the servicer

“maintains comprehensive written procedures describing the functions or services it performs on

behalf of institutions”; (iv) that the servicer complies with all requirements of FERPA and the

information security requirements of the FTC regarding safeguarding educational records and

student information to which it has access; and (v) that the servicer adheres to all Department

requirements for accessing and/or granting access to the Department’s systems. 2U, whose fiscal

year ends December 31, 2023, would be required to meet all of these requirements under all of its

contracts by September 1, 2023. Discussions with Title IV compliance auditors, who look to the

OIG Audit Guide to determine the scope of and procedures for their audits, reveal that they are

unable to provide an estimate of the cost of a compliance audit for a company such as 2U without

further guidance from the Department as to how these audits are to proceed.




3
 U.S. Dep’t of Educ., Office of Inspector General, Guide for Financial Statement Audits of
Proprietary Schools and for Compliance Attestation Examination Engagements of Proprietary
Schools and Third Party Servicers Administering Title IV Programs, Mar. 2023 (“2023 Audit
Guide”), https://www2.ed.gov/about/offices/list/oig/nonfed/2023auditguide.pdf.
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       41.     I understand that, under the terms of the 2023 DCL, as a third-party servicer, 2U

will be required to implement and maintain certain “safeguards for customer information” as

provided for in the information security requirements for financial institutions established by the

Federal Trade Commission (FTC) under the Gramm-Leach-Bliley Act. As 2U is not a financial

institution, 2U is not currently subject to such requirements.

       42.     The 2023 DCL also expressly requires 2U to refer any suspicion of fraudulent or

criminal conduct regarding administration of the institution’s Title IV programs to the Department.

       43.     2U’s classification as a third-party servicer will also mean that its contracts with its

partner institutions will be subject to inspection and review by the Department at any time. 20

U.S.C. § 1099c(b)(3)(A).

       44.     Compliance costs arising from these requirements will be nonrecoverable if the

2023 DCL is found to be unlawful.

       45.     Furthermore, the breadth and ambiguity of the 2023 DCL leaves many crucial

compliance questions unanswered and subject to considerable doubt, which will in itself drive up

compliance costs as 2U endeavors to ascertain its duties and obligations under the new legal regime

announced by the Department. For example, it remains unclear what audit standards will apply

with respect to the various services delivered by 2U to its partner institutions, and how the

Department might assess third-party servicer liability in connection with those services.

                           Foreign Subsidiaries and Subcontractors

       46.     In 2017, 2U purchased a South African company, Get Educated International

Proprietary Ltd., that provided online program management services to leading universities in the

United States (including Harvard University and MIT), the United Kingdom (including the

University of Cambridge), and South Africa. 2U paid $103 million for Get Educated in order to



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solidify its position as a global leader in digital education. The acquisition also gave 2U access to

Get Educated’s talented workforce of digital education specialists in Cape Town, South Africa.




       47.     Get Educated remains a South African proprietary company headquartered in Cape

Town, but now operates as a wholly owned subsidiary and subcontractor of 2U. 2U has entered

into numerous subcontracting arrangements with Get Educated to provide marketing and course-

content development services for several degree-granting programs in the United States.

       48.     Under the 2023 DCL, institutions participating in Title IV financial-aid programs

may not contract with an entity designated as a third-party servicer if that “servicer (or its

subcontractors) is located outside of the United States.” Thus, under the plain terms of the 2023

DCL, 2U’s institutional partners may not contract with 2U so long as one of its “subcontractors,”

Get Educated, is located outside of the United States.

       49.     In order to bring itself into compliance with the 2023 DCL, 2U will have to sever

its subcontracting arrangements with Get Educated, and either devise other subcontracting

relationships with U.S.-based entities, or else hire additional U.S. personnel to perform the

marketing work and course-content development work that is currently performed by Get

Educated’s employees in Cape Town.




       50.     2U would also have to sever relationships with any subcontractor who currently

performs any covered services abroad.



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                                2U’s Response to the 2023 DCL

       51.     On February 15, 2023—the day that the Department issued the 2023 DCL—2U

initiated a legal and compliance review to determine the meaning of the Department’s new

guidance, whether such guidance would create any new applicable regulatory requirements for 2U,

what steps 2U would need to take to comply with those regulatory requirements, and the

anticipated expense of doing so. Beyond the problems described above, 2U has found that the

2023 DCL is written so broadly and ambiguously that it leaves many crucial compliance questions

unanswered. For this reason, 2U submitted extensive comments to the Department seeking

clarification as to several open questions regarding the Department’s enforcement plans.

Notwithstanding the uncertainty created by the 2023 DCL, however, it has become clear that the

burdens of bringing 2U into compliance will be significant. Specific costs include the costs

associated with renegotiating contracts and added liability insurance surrounding key functions, to

name a few. These costs are further exacerbated by the condensed timeline for compliance by the

September 1, 2023 effective date.

       52.     While 2U will continue taking all appropriate steps to prepare for implementation

of the Department’s guidance, I have found that many of the further steps required to comply with

the Department’s guidance (such as renegotiation of 2U’s contracts with its partner institutions)

would—if undertaken—cause a significant harm to 2U’s business. Each of these steps would be



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difficult or impossible to unwind and would thus require 2U to make irreversible changes to its

business. 2U has accordingly decided to seek immediate relief to stay and enjoin the enforcement

policy reflected in the 2023 DCL.



       I declare under penalty of perjwy w1der the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge.

                                                             Executed on this 7th day of April 2023,




                                                        dzdt?--
                                                              Bradford R. Adams
                                                              Chief University Operations Officer
                                                              2U, Inc.




                                               19
